40 F.3d 1244
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John N. PRICE, Plaintiff Appellant,v.Doctor SHAH, Defendant Appellee.
    No. 94-6996.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 26, 1994.Decided Nov. 3, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (CA-94-929-AM)
      John N. Price, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing without prejudice his civil rights complaint for failure to particularize his complaint.  The district court's dismissal without prejudice is not appealable at this time, given the fact that Appellant could have saved his complaint through amendment.   Domino Sugar Corp. v. Sugar Workers' Local Union 392, 10 F.3d 1064 (4th Cir.1993).  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    